                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

EUGENIO VARGAS,                                §
                                               §
    Plaintiff/Counterclaim Defendant,          §
                                               §
v.                                             §       Civil Action No. 4:22-CV-00430-Y
                                               §
ASSOCIATION OF PROFESSIONAL                    §
FLIGHT ATTENDANTS, et al.                      §
 Defendants/Counterclaim Plaintiff.            §

                REPLY BY APFA IN SUPPORT OF SUMMARY JUDGMENT

         Defendant/Counterclaimant Association of Professional Flight Attendants (“APFA” or

“the Union”) respectfully submits this brief in reply to the response (Doc. 53) 1 filed by Plaintiff

Eugenio Vargas (“Vargas) in the opposition to APFA’s motion for summary judgment (Doc. 43,

44, 45) seeking enforcement of the arbitration decision adverse to Vargas.2

         This litigation was initiated by Vargas in his attempt to vacate a “final and binding”

arbitration decision adverse to him, a decision based on charges filed by Union members and the

subject of several days of hearing. The arbitrator concluded that Vargas had committed a series



1
  Vargas’s response brief is primarily a “cut and paste” version of the response brief submitted
by Ross in the companion case of Ross v. APFA et al., Case No. 4:22-CV-00343-Y. This reply is
thus unavoidably and regrettably duplicative of the reply APFA has filed in that proceeding.

2
 Vargas’s attempt to dispose of APFA’s motion for summary judgment as untimely (Doc. 53-1,
p. 1), after he had obtained an extension of time from the Court to respond (Doc. 51), is specious.
See Rule 56(b). (“a party may file a motion for summary judgment at any time until 30 days after
the close of all discovery”). And while this Court’s requirements provide that “[t]he time for
filing summary judgment motions is set by the Initial Scheduling Order”, the Court’s typical
Scheduling Order provides only that “[t]he parties file all . . . dispositive motions . . . no later
than” a set date. This Court has neither required nor ordered that the entry of a Scheduling Order
is a precondition to filing a motion for summary judgment, thus altering Rule 56(b) which
permits filing “at any time.” [emphasis added].

                                                   1
of acts of financial misconduct while Treasurer of APFA. Brief in Support of Summary

Judgment (“APFA SJ Brief") (Doc. 44 at pp. 2-3 and Doc. 45, Ex. B, App. 20-58). APFA has

counterclaimed for enforcement of the arbitration decision (Doc. 11, pp. 20-30).3 The Court

dismissed Vargas’s attempt to vacate the arbitration decision on October 27, 2022 for lack of

jurisdiction leaving APFA’s counterclaim to enforce that decision to be resolved by the Court.

(“Order") (Doc. 52).

       As we show below, Vargas’s response in opposition (Doc. 53) to APFA’s motion for

summary judgment (Doc. 43) completely ignores the bases for the Court’s recent decision

dismissing his attempt to vacate the arbitration decision, mischaracterizes the undisputed record

supporting enforcement of that decision, and fails to address, let alone refute, the very well

settled axiom of judicial deference to, and enforcement of arbitration decisions which contains

only a very narrow exception that Vargas has not even attempted to claim to exist here.

       THE COURT HAS REJECTED VARGAS’S PRIMARY ARGUMENTS

       In its Order of October 27, 2022 rejecting and dismissing Vargas’s attempt to vacate the

arbitration decision against him, the Court ruled that the charges against Vargas sustained by the




3
  Jurisdiction for APFA’s counterclaim is based on Section 301(a) of the Labor Management
Relations Act (“LMRA”), 29 U.S.C.§185(a), which governs suits for enforcement of contracts
“between … labor organizations,” and which the Supreme Court has repeatedly ruled includes
enforcement of union constitutions. United Ass’n of Journeymen v. Local 334, 452 U.S. 615, 622
(1981); Wooddell v. Int’l Bhd. of Elec. Workers, 502 U.S. 93, 99, 101 (1991); Hampton v. Int’l
Longshoreman’s Ass’n, 2017 U.S. Dist. LEXIS 218154 at *5-6 (S.D. Tex. 2007) (See APFA SJ
Brief , Doc. 44 at p. 6). The Section 301(a) “contract” underlying enforcement of the arbitration
decision against Vargas is the APFA Constitution which governs the relations between APFA,
the parent labor organization, and APFA’s local labor organizations known as “Bases” (Doc. 44,
p 3; Doc. 45, App. 002-03, APFA Constitution, Exh. A at pp. 24-25).


                                                 2
arbitrator were brought by APFA members, not the Union. and did not constitute union

discipline cognizable under Section 101(a)(5) of the LMRDA, 29 U.S.C. §411(a)(5).

         Nevertheless, in his response in opposition to APFA’s motion for summary judgment

filed on November 1, Vargas has continued to mischaracterize the arbitration decision as

“discipline” imposed by the Union ignoring the Court’s recent ruling to the contrary (Doc. 52).

(See Plaintiff’s Mem. in Resp. to Motion for Summary Judgment (“Pl. Resp. Mem.”) (Doc. 53-1

at pp. 5, 6, 7. 9, 12, 14, 15).

                         THE UNDISPUTED MATERIAL FACTS

        The facts that are material and determinative of APFA’s motion for enforcement of the

arbitration decision are simply whether the arbitrator’s decision “draws its essence” from the

governing contract, here the APFA Constitution. (APFA SJ Brief, Doc. 44 at 6-7). In his

response Vargas parroted Plaintiff Ross’s claim in the companion case that there are five

material disputes of fact that preclude summary judgment. Pl. Resp. Mem.. (Doc. 53-1 at p. 14.

These assertions are in error and readily disposed of:

               As noted, Vargas expressly conceded in his post-hearing brief to the arbitrator

                that the charges were properly brought before the arbitrator. (Doc. 45, Exh. E,

                App. p. 65) thereby self-refuting the first of his purported “disputed” facts. Pl.

                Resp. Mem. at 15. (Doc. 53-1).

               Vargas’s second claim (misnumbered), that the arbitrator was somehow not

                “impartial” because of his rulings that Vargas disagreed with, is not only devoid

                of any record evidence but is likewise legally inapposite. Pl. Resp. Mem. at 16

                (Doc. 53-1). Arbitration decisions are subject to judicial review for partiality



                                                  3
             where the arbitrator can be shown to have a specific interest in the outcome of the

             case. This Court has emphatically rejected claims of “partiality” like Vargas’s:

                     To establish partiality based on bias, "the party urging vacatur must
                     produce specific facts from which a reasonable person would have to
                     conclude that the arbitrator was partial to one party." Householder Group
                     v. Caughran, 354 Fed. App'x 848, 852 (5th Cir. 2009) (quoting Weber v.
                     Merrill Lynch Pierce Fenner & Smith, Inc., 455 F. Supp. 2d 545, 550
                     (N.D. Tex. 2006)). The plaintiff may meet this "onerous burden" by
                     demonstrating that the alleged partiality is "direct, definite, and capable of
                     demonstration rather than remote, uncertain or speculative." Id. (internal
                     quotations omitted). Furthermore, the party seeking vacatur must
                     demonstrate more than the "mere appearance of bias." Positive Software
                     Solutions, Inc. v. New Century Mortg. Corp., 476 F. 3d 278, 283 (5th Cir.
                     2007) (internal quotations omitted). These "'standards for judicial
                     intervention [have been] narrowly drawn to assure the basic integrity of
                     the arbitration process…'" Kimco Birmingham LP v. Third Creek LLC,
                     No. 3:07-CV-1642-O, 2010 U.S. Dist. LEXIS 2827, 2010 WL 147942 at
                     *4 (N.D. Tex. Jan. 14, 2010) (quoting Merit Ins. Co. v. Leatherby Ins.
                     Co., 714 F.2d 673, 681 (7th Cir. 1983)). The unfavorable rulings that
                     Adams alleges from the 2006 arbitration are insufficient to elevate claims
                     of partiality during the second arbitration beyond a speculative level.

Adams v. Barnes, 2010 U.S. Dist. LEXIS 61358, 2010 WL 248252 at *8-9 (N.D.

Tex. 2010) (J. Boyle). See also Vantage Deepwater Co. v Petrobras Am. Inc., 966

F.3d 361, 372-75 (5th Cir. 2020); Elkouri and Elkouri, How Arbitration Works (7 th

Ed.), at pp. 2-32 through 2-39 and cases cited therein.

         Vargas’s third asserted factual dispute -- that the arbitrator did not act “within his

          jurisdictional authority” (Pl. Mem. at17) – is not only refuted by review of the

          decision itself but also by Vargas himself who took the precisely the opposite position

          during the arbitration process (Doc. 45, Exh. E, App. p. 65).

         The fourth asserted factual dispute over the nature of the charges against him (Pl.

          Resp. Mem. at 17 (Doc. 53-1), is resolved in and by the arbitration decision itself .

          (Doc. 45, Exhs. B, C, D).


                                                 4
          Vargas’s final attempt to manufacture a dispute of material fact -- over whether

           APFA was a party to the arbitration process (Doc. 53-1 at 17-18) -- is once again a

           fiction. The nature of the arbitration process is defined by the APFA Constitution and

           Policy Manal (Doc. 45, Exh A, App. 5-10, 13-18) and is described in the arbitrator’s

           decision (Doc. 45, Exh. B at pp. 4-7, App. 23-26). And, as the Court has recently

           ruled, “The arbitration decision Plaintiff seeks to vacate was obtained by two union

           members, however, and not by the union or its officers.” Order at p. 2 (Doc. 52).4




4
  In addition to the asserted “disputed” facts discussed above, Vargas has attempted to introduce
new evidence relating to the arbitration decision into the record in this case in the form of a
memo from APFA’s CPA, headed “Confidential Memorandum”, which memo delt with certain
unrelated payments to Robert Ross under his exit “Transaction Agreement” upon his resignation
as APFA National President. (See Pl. Resp. Mem. (Doc. 53-1, at pp. 5-6, 8-9, 1, 13). This new
“evidence” should have been directed to the arbitrator during or after the hearing as he retained
jurisdiction after both his original and supplemental decisions. (See Doc. 45, Ex. B at p. 39,
App. 58, and Doc. 45, Ex. D. at p. 2, App. 62).

   As the courts have held, the parties waive their objections by not raising them during the
arbitration proceedings. Marino v. Writers Guild of Am., E., Inc., 992 F.2d 1480, 1483 (9th Cir.
1993) ("[P]arties must be encouraged, nay required, to raise their complaints about the arbitration
during the arbitration process itself, when that is possible."); Weinberger v. Silber, 140 F. Supp.
2d 712, 721 (N.D. Tex. 2001) (citations omitted) ("If a party does not protest to the arbitrator,
courts generally will not give him a second chance to do so in a motion to vacate.") Penson Fin.
Servs. v. Misr. Secs. Int'l, 2008 U.S. Dist. LEXIS 139581 at *13-14 (N.D. Tex. 2008) (J. Boyle).

    Moreover, this new “evidence” is a “red herring” that bears no relation to the charges against
Vargas sustained in the arbitration, as is evident from a review of the charges and the arbitration
decisions themselves. (See Doc. 45, Ex. B, February, 18, 2022 Arbitration Decision, “Issues” at
p. 2-3, App. 21-22, “Discussion and Opinion” at pp. 30-38, App. 49-57, “Conclusion” and
“Remedy” at pp, 38-39, App. 57-58; Doc. 45, Ex, C, March 10, 2022 Supplemental Decision at
pp. 1-2, App. 59-060; and Doc. 45, Ex. D, August 24, 2022 Supplemental Decision and Remedy
Modification at pp. 2-3, App. 62-63).



                                                 5
                        THE GOVERNING LEGAL PRINCIPLES

        As Defendants have repeatedly reminded Vargas, to no apparent avail, the principle of

“exceedingly deferential” judicial review of arbitration standards is very well settled:


            As long as the arbitrator's award draws its essence from the parties' agreement." An
            arbitrator exceeds his [or her] authority when he [or she] acts 'contrary to express
            contractual provisions.'" Kemper Corp. Servs., Inc. v. Computer Scis. Corp., 946 F.3d
            817, 822 (5th Cir. 2020) (quoting Beaird Indus., Inc. v. Local 2297, Int'l Union, 404
            F.3d 942, 946 (5th Cir. 2005)) and is not merely "his [or her] own brand of industrial
            justice," the award is legitimate. United Paperworkers Int'l Union v. Misco, Inc., 484
            U.S. 29, 36 (1987) (quoting Steelworkers, 363 U.S. at 596). "An arbitrator exceeds
            his [or her] authority when he [or she] acts 'contrary to express contractual
            provisions.'" Kemper Corp. Servs., Inc. v. Computer Scis. Corp., 946 F.3d 817, 822
            (5th Cir. 2020) (quoting Beaird Indus., Inc. v. Local 2297, Int'l Union, 404 F.3d 942,
            946 (5th Cir. 2005)).

Lalo, LCC v. Hawk Apparel, Inc., 2022 U.S. Dist. LEXIS 722218, 2022 WL 1173801at *6-7

(N.D. Tex. 2022) (J. Lindsey). Notably, there are numerous additional court decisions

referenced in the Lalo decision -- both federal and state court arbitration decisions, and both

traditional labor management and non-labor arbitration decisions such as the decision in Lalo

itself – illustrating the universality of this legal principle.

        In his response in opposition (Doc. 53) to APFA’s motion for summary judgment (Doc.

43, 44, 45) to confirm and enforce the arbitrator’s decisions, Vargas has neither attempted to

contest this settled legal principle nor even acknowledged it, which is not surprising as it is one

that sets a legal standard that is impossible for Vargas to meet. Not only does the arbitration

decision itself demonstrate that the relevant provisions of the APFA Constitution were complied

with, but Vargas explicitly conceded that the dispute was properly within the Arbitrator’s

jurisdiction for resolution under the APFA Constitution(Doc. 45, Exh. E, App. 65).




                                                     6
                                      CONCLUSION

       For the reasons stated above and in the Union’s motion for summary judgment, the

decision of the arbitrator should be enforced and APFA should be allowed to proceed with an

application for attorneys fees and/or sanctions.

Date: November 9, 2022                        Respectfully Submitted,

                                                /s/ Sanford R. Denison
                                              SANFORD R. DENISON
                                              Tex. Bar No. 05655560
                                              Baab & Denison, LLP
                                              6301 Gaston Ave., Suite 550
                                              Dallas, TX 75214
                                              Tel.: (214) 637-0750
                                              Fax.: (214) 637-0730
                                              Email: denison@baabdenison.com

                                              WILLIAM W. OSBORNE JR.*
                                              D.C. Bar No. 912089
                                              Osborne Law Offices P.C.
                                              5335 Wisconsin Avenue N.W., Suite 440
                                              Washington, D.C. 20015
                                              Tel.: (202) 243-3200
                                              Fax: (202) 686-2977
                                              Email: b.osborne@osbornelaw.com

                                              Counsel for Defendant Counterclaim Plaintiff
                                              Association of Professional Flight Attendants, and
                                              Defendants Julie Hedrick and Erik Harris

                                              *Admitted Pro Hac Vice




                                                   7
                               CERTIFICATE OF SERVICE

       I certify that on this 9th day of November 2022 a true and correct copy of the foregoing
document was served on the below listed counsel of record for Plaintiff/Counterclaim Defendant
Vargas by a means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

       KERRI PHILLIPS
       HEATHER ABREU
       K.D. Phillips Law Firm, PLLC
       5700 Tennyson Parkway, Suite 300
       Plano, Texas 75024
       Phone: (972) 327-5800
       Fax: (940) 400-0089
       Email: kerri@KDphillipslaw.com
       Email: Heather@KDphillipslaw.com


                                             /s/ Sanford R. Denison
                                            SANFORD R. DENISON




                                               8
